        Case 2:20-cr-00326-JFW Document 1068 Filed 05/18/23 Page 1 of 1 Page ID #:24140
                                                                                                                             CLEAR FORM
 Name Richard M. Steingard (106374)
 Address 724 South Spring Street, 9th Floor
 City, State, Zip Los Angeles, CA 90014
 Phone (213) 260-9449
 Fax (213) 260-9450
 E-Mail richard@steingardlaw.com
 G FPD        G Appointed    G CJA        G Pro Per    G✘Retained

                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
United States of America                                                 CASE NUMBER:

                                                                                               2:20-CR-00326(A)-JFW-4
                                                      PLAINTIFF(S),
                                  v.
Shen Zhen New World I, LLC
                                                                                          NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that                                  Shen Zhen New World I, LLC                          hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 G Conviction only [F.R.Cr.P. 32(j)(1)(A)]                               G Order (specify):
 ✘ Conviction and Sentence
 G
 G Sentence Only (18 U.S.C. 3742)
 G Pursuant to F.R.Cr.P. 32(j)(2)                                        G Judgment (specify):
 G Interlocutory Appeals
 G Sentence imposed:
                                                                         G Other (specify):

 G Bail status:



Imposed or Filed on                5/12/2023             . Entered on the docket in this action on 5/12/2023                                 .

A copy of said judgment or order is attached hereto.


5/18/2023
Date                                                     Signature
                                                         G Appellant/ProSe          ✘ Counsel for Appellant
                                                                                    G                                 G Deputy Clerk

Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                  NOTICE OF APPEAL
